              Case 22-1006, Document 120,
                                     115, 09/16/2022,
                                          08/11/2022, 3383468,
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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                           CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                    CLERK OF COURT

Date: August 11, 2022                                          DC Docket #: 22-cv-2156
Docket #: 22-1006cv                                            DC Court: EDNY (BROOKLYN)
Short Title: Vans, Inc. v. MSCHF Product Studio, Inc.          DC Judge: Levy
                                                               DC Judge: Kuntz

                               NOTICE OF HEARING DATE



  Argument Date/Time:       Wednesday, September 28, 2022 at 10:00am
  Location:                 Thurgood Marshall U.S. Courthouse, 40 Foley Square,
                            New York, NY, 10007, 15th Floor, Room 1505

  Time Allotment:            10 minutes per side

  Counsel and non-incarcerated pro se litigants presenting oral argument must register with
  the Counsel and non-incarcerated pro se litigants presenting oral argument must register
  with the courtroom deputy 30 minutes before argument.

  Approximately one week prior to argument, the Court will advise the individuals who will
  appear of the format for the argument. The Court prefers to hold argument in person.
  However, argument may be held by Zoom, teleconference, or a combination of in-person and
  remote arguments, depending upon then current pandemic-related considerations. In
  addition, some parties who have demonstrated good cause by motion and judges may
  participate remotely. If an argument is in person, all individuals must wear a mask at all
  times in the courthouse, including in the courtroom and during oral argument. If an argument
  is remote, the parties will receive instructions to access Zoom or the teleconference.

  A motion or stipulation to withdraw with or without prejudice must be filed no later than 3
  business days prior to the scheduled date of argument. The Court will consider the motion or
  stipulation at the time of argument, and counsel's appearance is required with counsel
  prepared to argue the merits of the case. If a stipulation to withdraw with prejudice is based
  on a final settlement of the case, the fully-executed settlement must be reported immediately
  to the Calendar Team, and a copy of it must be attached to the stipulation.

  Inquiries regarding this case may be directed to 212-857-8595.
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See page 2 for additional information.




                                                                             -
Counsel must file the completed form in accordance with Local Rule 25.1 or 25.2.
Pro Se parties must submit the form in paper.

Name of the Attorney/Pro Se presenting argument: David H. Bernstein
Firm Name (if applicable): Debevoise & Plimpton LLP
Current Telephone Number: (212) 909-6696

The above named attorney represents: MSCHF Product Studio Inc.
(X) Appellant/Petitioner ( ) Appellee-Respondent ( ) Intervenor

Date:    9/16/2022               Signature:     /s/David H. Bernstein



                                   NOTICE TO THE BAR

Offsite Video Argument. At this time the Court does not provide offsite video argument.

Recording of Argument. An audio recording of oral argument is available on the Court's
website. In addition, a CD of an argument may be purchased for $32 per CD by written
request to the Clerk. The request should include the case name, the docket number and the
date or oral argument. CDs will be delivered by first class mail unless the request instructs to
hold for pick- up or requests Federal Express Service, in which case a Federal Express
account number and envelope must be provided.

Court Reporters. Parties may arrange - at their own expense - for an official court reporter
to transcribe argument from a copy of the hearing tape or to attend and transcribe the hearing
directly. A party must first obtain written consent from opposing counsel - or move the Court
for permission - to have the court reporter attend and transcribe the hearing and must provide
the calendar clerk written notice, including the name, address and telephone number of the
attending reporter and, if applicable, the reporting firm at least one week prior to the hearing
date.

Interpreter Services for the Hearing Impaired. Counsel requiring sign interpreters or
other hearing aids must submit a written notice to the Calendar Team at least one week
before oral argument.

Inquiries regarding this case may be directed to 212-857-8595.
